         Case 3:23-cv-06494-GPC Document 24 Filed 08/10/24 Page 1 of 2




    Via ECF electronic delivery only
DATED: AUGUST 11, 2024
RESHMA KAMATH CAL. BAR NO. 333800
LAW OFFICE OF RESHMA KAMATH
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               RE: TEACHINGS TO THE RACIST MEXICAN-AMERICAN JUDGES.

       To: DEAR RACIST GONZALO CURRIEL:
       Curriel, your racism is pretty clear and obvious – that Mexican/Mexican-American
hatred towards Indians/Indian-Americans, is more than visible. Along with the misogyny
that you have brought to the United States, your orders, along with that of Murugia,
wreak of disgust. You have helped many Mexican/Mexican-American violent criminals in
the United States and supported their fraud/criminality.

You have helped the White criminals, such as Alsup, Breyer, White, Hixson, Meuleman,
and Meher, in the Northern District court in the form of judges, attorneys and staff. They
may like the Amerixco you have created because they continue to have the White privilege
and don’t realize what they have done to day-to-day ordinary Americans. (destroyed
America).

It is the arse-licking Non-White judges, such as you, who have literally destroyed the ethos
of the United States.

Neither do you help women litigants, nor do you help women-of-color attorneys.

The women litigants, whom you think you help and rule in favor of, are actually the
criminals and the ones who should be locked up. I know you have freed many-a-Mexican-
criminals - both male and female - because of your racist, arcane Mexican misogynistic
racism.

Mary Muruguia helped the criminal, Yvonne-Gonzalez Rogers' insider-trading of $46
million with her spouse, Mark Rogers. How else does an ordinary attorney working at
Cooley make $46 million from the same McKinsey securities where Gonzalez’s spouse
worked – a lot of insider-trading tips from Mark Rogers.of insider-trading tips from Mark
Rogers. Yvonne-Gonzalez Rogers is not that smart either. Yvonne-Gonzalez Rogers comes
from a privileged background – non-immigrant, non-abused, and supportive family
structure.
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         Case 3:23-cv-06494-GPC Document 24 Filed 08/10/24 Page 2 of 2




You should see what us Indian women have to go through compared to you all.

Muruguia did this in cleverly taking a case away from a neutral judge at the California
Northern District, and putting in Curriel's courtroom (who runs his courtroom like a
Mexican mafia mob). The whole world knows that Muruguia would know Curriel who
would know Gonzalez-Rogers - more than obvious, that Mexican-American judges
communicate and talk with each other (even prior to this case). Weilding your judicial
power to promote racism and misogyny is the lowest-of-the-low for the United States
district court.

The illegality you brought into America is the same illegality you displayed in this case in
Curriel's failing to adhere to the laws.

Guess what though - I am much more clever than you think.

The trashy White Males are not the only ones reading this case. You, as a light-skinned
racist Mexican guy, has destroyed (in your career of three decades ) - destroyed the lives of
many African-Americans/Black-Americans.

Racial misogynists such as Muruguia and you are what the State Bar of California
supports.

This doesn’t end here. Watch what is next in store for you all.

It is my duty as an intelligent attorney to create social change and I have rightly done so. I
will not promote racist White laws and contravention of laws such as you bufoonistic judge
doesn’t know that summons under Fed. Rul. Civ. Proc. 4(A) Must be issued in the
litigating/transferee court. You can keep supporting White trash and Mexican criminals.

Like many Americans nowadays, I have happily and cleverly moved out of the United
States to get away from the rot of America. Hopefully, this will be a permanent move
unlike my prior times, and I’ll move on to bigger and better things – I have more than
made my point in this case. There is no justice for Indian women in the United States.

Take care.


Sincerely,




Reshma Kamath, Counsel and Plaintiff.

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